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                    IN THE UNITED STATES DISTRICT COURT FOR THE
                            EASTERN DISTRICT OF VIRGINIA

                                       Alexandria Division

                                                  )
UNITED STATES OF AMERICA                          )       Case No. 1:18-CR-308
                                                  )
               v.                                 )       The Honorable T.S. Ellis, III
                                                  )
MARKARA MAN,                                      )       Plea Hearing: August 31, 2018
                                                  )
                       Defendant.                 )
                                                  )

                      GOVERNMENT’S OPPOSITION TO
             DEFENDANT’S MOTION FOR BAIL PENDING SENTENCING

       On or about December 20, 2017, the Defendant Markara Man, in response to the repeal

of net neutrality regulations, sent an email message to the Federal Communications Commission

Chairman threatening to “find” and “kill” the FCC Chairman’s children. That was a choice the

Defendant made, and it carried the attendant risk of incarceration; an outcome that the Defendant

now seeks to delay at least until sentencing. Yet, threatening to murder the children of a federal

official for purposes of intimidation, interference, and retaliation is a crime of violence for which

detention pending sentencing is mandatory unless exceptional reasons for release are established

by clear and convincing evidence. For the reasons stated below, none of the grounds the

Defendant has proffered for his release satisfy this high burden. The Court, accordingly, should

deny the Defendant’s request for bond and detain him pending sentencing.

                                         BACKGROUND

       On June 20, 2018, the Defendant was charged via criminal complaint with one count of

threatening to murder members of the immediate family of a U.S. government official with the

intent to intimidate and interfere with the official while engaged in the performance of official
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duties and with the intent to retaliate against such official on account of the performance of

official duties, in violation of 18 U.S.C. §§ 115(a)(1)(A) and 1114. (See Crim. Compl., Dkt. 1.)

The Defendant was arrested in California on or about June 29, 2018, and appeared before the

Honorable Charles F. Eick for an initial appearance. At the hearing, U.S. Magistrate Judge Eick

denied the government’s request for detention but stayed bond until July 13, 2018. (See June 29,

2018 Min. Entry Order, 2:18-MJ-1694 (C.D. Cal.) at 4, Dkt. 5.) U.S. Magistrate Judge Eick also

imposed various conditions of pretrial release, one of which required the Defendant to submit to

a mental health evaluation. 1 (See id. at 3.)

       Then, on July 13, 2018, Pretrial Services for the Central District of California notified

U.S. Magistrate Judge Eick that the Defendant had satisfied the conditions of bond and asked the

Court to order the Defendant’s release. (See Pretrial Services’ Mem., 2:18-MJ-1694 (C.D. Cal.),

Dkt. 14.) The Court, thereafter, held a status conference on July 19, 2018, at which the Court

ordered the Metropolitan Detention Center to conduct a psychiatric/psychological examination of

the Defendant and produce a report to the Court and the parties no later than July 27, 2018. (See

July 19, 2018 Min. Entry Order, 2:18-MJ-1694 (C.D. Cal.), Dkt. 15.)

       The parties returned to court on July 27, 2018, at which time U.S. Magistrate Judge Eick

modified the Defendant’s appearance bond and ordered him released pursuant to the conditions

previously set. (See July 19, 2018 Min. Entry Order, 2:18-MJ-1694 (C.D. Cal.), Dkt. 21.) The

Defendant has been residing in California since July 27, 2018, and has been subject to location

monitoring.

       On August 31, 2018, the Defendant is expected to plead guilty to a single count of

§ 115(a)(1)(A). Should the Court accept the Defendant’s plea, the government intends to move



       1
           The government did not appeal the Court’s decision to grant bond.

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for detention on the basis of the criminal charge being a crime of violence. The Defendant has

filed a motion opposing detention, arguing that that exceptional reasons warrant his release

pending sentencing. (See Def.’s Mot., Dkt. 28.) The government opposes the Defendant’s

request.

                                        LEGAL STANDARD

        The statutory scheme that Congress has created mandates detention of defendants

convicted of crimes of violence unless certain exceptions apply, neither of which are pertinent

here. See 18 U.S.C. § 3143(a)(2). As the Fourth Circuit has recognized, defendants may seek

relief from the operation of § 3143(a)(2) by arguing that “exceptional reasons” for release exist

under 18 U.S.C. § 3145(c). See United States v. Goforth, 546 F.3d 712, 716 (4th Cir. 2008).

Defendants seeking such relief, however, have a “heavy burden.” United States v. Manso, No.

13-CR-83S, 2014 WL 6674715, at *3 (W.D.N.Y. Nov. 25, 2014) (characterizing post-conviction

release requests for “exceptional reasons”). They must show “by clear and convincing evidence

why . . . detention would not be appropriate based on exceptional reasons.” United States v.

Smith, 34 F. Supp. 3d 541, 553 (W.D. Pa. 2014); see also United States v. Rodella, 101 F. Supp.

3d 1075, 1133 (D.N.M. 2015) (placing the burden on the defendant to establish exceptional

reasons for release pending sentencing).

        Although the statutory text does not define the meaning of “exceptional reasons,” courts

have interpreted the phrase in accordance with its plain and ordinary meaning. 2 Exceptional


        2
          Also instructive is a 1989 letter that Assistant Attorney General Carol T. Crawford wrote to the
U.S. Senator sponsoring the bill containing § 3143. See United States v. Garcia, 340 F.3d 1013, 1018 n.4
(9th Cir. 2003) (reproducing the letter). The letter, which was penned in response to a request for
comments on the bill, indicated the Department of Justice’s support for the bill, but expressed “concern[]”
that the draft legislation did not allow for release pending sentencing in “extraordinary case[s].” Id.
(internal quotations and citations omitted). The letter also posited two circumstances that would qualify
as the “rare instances in which release, under appropriate conditions, would be proper.” Id. One was a
case in which an elderly man had been convicted of a mercy killing of his spouse, and who did not pose a

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reasons, by necessity, are “clearly out of the ordinary, uncommon, or rare.” United States v.

Brown, 368 F.3d 992, 993 (8th Cir. 2004) (per curiam). That is, they “exist where there is ‘a

unique combination of circumstances giving rise to situations that are out of the ordinary.’”

United States v. Lea, 360 F.3d 401, 403 (2d Cir. 2004) (quoting United States v. DiSomma, 951

F.2d 494, 497 (2d Cir. 1991)); United States v. Wages, 271 F. App’x 726, 727 (10th Cir. 2008)

(per curiam) (similar). The exceptional reasons inquiry therefore is fact dependent, and courts

“have wide latitude to determine whether a particular set of circumstances qualifies as

‘exceptional.’” Id.

                                              ARGUMENT

        The issue raised by the Defendant’s Motion is narrow. He does not dispute Congress’s

legislative determination that 18 U.S.C. § 115(a)(1)(A) is a crime of violence. 3 Nor does the

Defendant claim that one of the exceptions to 18 U.S.C. § 3143(a)(2) applies such that he is not



danger to the community or risk of flight and whose case presented a question of first impression in the
circuit, and another was a case in which a drug dealer was too wounded to commit additional crimes or
flee and whose conviction raised a novel search and seizure issue. Id.
        3
          The Defendant’s decision not to raise this issue comports with § 3156(a)(4), which defines what
offenses constitute crimes of violence for purposes of § 3142(f)(1)(A), and Fourth Circuit precedent.
Specifically, assuming that Sessions v. Dimaya, 138 S. Ct. 1204 (2018), which invalidated 18 U.S.C.
§ 16(b), also applies to § 3156(a)(4), it is necessary to conduct a modified categorical analysis of
§ 115(a)(1)(A) given that the statute is divisible into a number of crimes. See United States v. Diaz, 865
F.3d 168, 175 (4th Cir. 2017), as amended (July 31, 2017) (discussing the circumstances in which the
modified categorical analysis applies).

         Under such an analysis, it is evident that § 115(a)(1)(A) constitutes a crime of violence. This is
so by virtue of the following logic. The charge to which the defendant is intending to plead guilty is
threatening to murder a federal official’s immediate family members. See Shepard v. United States, 544
U.S. 13, 21 (2005) (explaining that the modified categorical approach permits courts to determine the
nature of the offense by considering, among other documents, charging instruments). Although the
government is unaware of a reported federal decision in which § 115(a)(1)(A) was deemed a crime of
violence, the Fourth Circuit in In re Irby, 858 F.3d 231 (4th Cir. 2017), found that second-degree
retaliatory murder, in violation of 18 U.S.C. § 1513 & § 1111, is a crime of violence under § 924(c)’s
force clause, id. at 237 (“Common sense dictates that murder is categorically a crime of violence under
the force clause.”). Because § 924(c)’s force clause is substantially similar to § 3156(a)(4)’s force clause,
if murder falls within the former, certainly threatening to murder easily fits within the latter.

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subject to mandatory detention pending sentencing. Rather, the Defendant’s sole argument is

that exceptional reasons exist that justify his release pursuant to § 3145(c).

       To this end, the Defendant seems to have proffered six reasons for why he should be

released pending sentencing. They are as follows: his lack of criminal history; his early guilty

plea; the improbability that he poses a danger to the community or will flee; his unblemished

performance on pretrial release; the hardship he will face while incarcerated; and his need for

mental health treatment. (Def.’s Mot. at 2–3.) None of these circumstances, however, constitute

exceptional reasons for release pursuant to § 3145(c), whether considered alone or in

combination.

       A.      Aberrational Nature of the Criminal Conduct and Early Acceptance of
               Responsibility Are Not Exceptional Circumstances

       With respect to the Defendant’s status as a first-time offender, various courts have found

that “the aberrant nature of the criminal offense does not constitute an exceptional

circumstance.” United States v. Lopez, 184 F. Supp. 3d 1139, 1145 (D.N.M. 2016); see also

Wages, 271 F. App’x at 728; United States v. Larue, 478 F.3d 924, 925 (8th Cir. 2007) (per

curiam) (similar); Lea, 360 F.3d at 403 (“There is nothing ‘exceptional’ about . . . being a first-

time offender . . . .”). Likewise, neither is a defendant’s early admission of guilt an exceptional

reason for release pending sentencing. See United States v. Little, 485 F.3d 1210, 1211 (8th Cir.

2007) (per curiam) (not exceptional “for defendants to cooperate in the investigation of their

criminal acts.”).

       B.      Lack of Danger to the Community or Risk of Flight and Compliance with
               Conditions of Pretrial Release Are Not Exceptional Circumstances

       It also is of no moment whether the Defendant is a danger to the community or will flee.

As an initial matter, the factual basis for the Defendant’s assertion that he will not commit


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another crime of violence or take flight is unclear. A reasonable estimate of the Defendant’s

agreed-upon guidelines range is 63 to 78 months; a significant term of incarceration that

arguably increases the likelihood of flight. In addition, although the Defendant has complied

with the terms of pretrial release, such behavior is not uncommon or rare. Rather, it is expected.

See Larue, 478 F.3d at 925 (obeying pretrial release conditions is “commendable, but . . . not

clearly out of the ordinary, uncommon, or rare” (internal quotations and citations omitted)).

       Even if the Court were to find that the Defendant is unlikely to commit another crime of

violence, such a determination is irrelevant to the § 3145(c) analysis. The only reason § 3145(c)

is at issue is because Congress has made the determination that violators of § 115(a)(1)(A) pose a

danger to the community. To release a defendant on the basis that he does not pose such a risk

would create an end run around § 3143(a)(2). Cf. United States v. Koon, 6 F.3d 561, 564 (9th

Cir. 1993) (Rymer, J., concurring in denial of rehearing en banc) (explaining in the context of a

request for bail pending appeal, which is governed by § 3143(b)(2), that if establishing a

defendant’s lack of danger to society or risk of flight were sufficient, then “every violent

offender would have as good a chance of getting bail on appeal as every nonviolent offender,”

which, “of course, would be inconsistent with § 3143(b)(2)).

       C.      Hardships Faced in Prison Is Not an Exceptional Circumstance.

       As for the Defendant’s assertion that his incarceration may result in hardship, the

government notes that this contention is without any factual support. Even if it were credited,

the fact the Defendant (or possibly his family) will experience hardship is equally insufficient to

justify his release pending sentencing.

       Incarceration is, by its very nature, a hardship, and neither the defendant’s mental health

status nor the nature of his conviction is rare or uncommon, particularly when compared to other



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offenders. Instructive on this point is United States v. Brown, 368 F.3d 992, and Rodella, 101 F.

Supp. 3d 1075. In Brown, the Eighth Circuit reversed the decision of a district court to allow a

defendant who had pleaded guilty to receipt of child pornography, in violation of 18 U.S.C.

§ 2252(a)(2), to self-surrender. 368 F.3d at 993. The Brown court rejected the district court’s

“speculation that the nature of Brown’s conviction might subject him to mistreatment,” finding

that his case was common “when compared to every other defendant convicted of offenses

involving the sexual exploitation of children.” Id. Similarly, in Rodella, a district court found

that a defendant’s “position as a former law enforcement officer” was not an exceptional reason

for release given that “[i]ncarceration is inherently dangerous” and that the detention center

could minimize the risk of harm befalling the defendant by placing him in solitary confinement.

101 F. Supp. 3d at 1136.

       Incarceration, undoubtedly, burdens a defendant’s family, too. But, such a result is not

an exceptional circumstance either. Indeed, not even a defendant’s need to care for a family

member, such as a daughter having a difficult pregnancy, is sufficient to warrant release under

§ 3145(c). See United States v. Taliaferro, 779 F. Supp. 836, 838 (E.D. Va. 1992) (Beach Smith,

J.); see also United States v. Lippold, 175 F. Supp. 2d 537, 540–41 (S.D.N.Y. 2001) (refusing to

release pending sentencing a convicted drug trafficker who had three young children, one of

whom had Bell’s Palsy); United States v. Burnett, 76 F. Supp. 2d 846, 849 (E.D. Tenn. 1999)

(rejecting argument that a defendant should be released pending sentencing “because she [was]

the primary care provider for her seventy-seven year old mother and fifth-three year old brother,

both of whom [had] a number of health problems and require[d] assistance”).




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       D.      Need for Mental Health Treatment Is Not an Exceptional Circumstance

       The Defendant’s proffered mental illness does not qualify as an exceptional reason to

release him pending sentencing either. This is so for two reasons. First, an overwhelming

number of courts have ruled that a defendant’s health does not satisfy § 3145(c) unless his

condition is extraordinarily serious. See Wages, 271 F. App’x at 728 (release not warranted by

virtue of defendant’s age, use of a wheelchair, need for a special mattress, and limited hearing

ability); United States v. Lieberman, 496 F. Supp. 2d 584, 587 (E.D. Pa. 2007) (availability of

treatment in China for paralysis is unexceptional); United States v. Mellies, 496 F. Supp. 2d 930,

936–37 (M.D. Tenn. 2007) (need for extensive dental treatment is unexceptional); Brown, 368

F.3d at 993 (“defendant’s participation in a [depression] treatment program is not an

extraordinary reason”); United States v. Green, 250 F. Supp. 2d 1145, 1150–51 (E.D. Mo. 2003)

(successful progress in drug treatment is unexceptional).

       To be sure, as the Defendant notes, a district court in the Eastern District of Wisconsin

has deemed release pending sentence appropriate where a defendant has successfully completed

a substance abuse program and desires psychological evaluation and treatment. See United

States v. Kaquatosh, 252 F. Supp. 2d 775, 779–80 (E.D. Wis. 2003). That decision, however, is

an outlier, and does not sufficiently grapple with countervailing precedent to warrant adoption in

this jurisdiction. Lopez, 184 F. Supp. 3d at 1146 (surveying § 3145(c) decisions and concluding

that a “defendant’s physical conditions, unless extremely irregular, will not often constitute an

exceptional circumstance”).

       Second, as reflected in the Defendant’s Motion, his claimed mental health issues do not

appear to be uncommon or rare, and, as a result, the government supposes that his treatment

needs are not exceptional either. This is notable because courts have recognized that the



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availability of medical treatment in a detention facility cuts against the argument for release

pending sentencing. See Rodella, 101 F. Supp. 3d at 1130 (observing that the defendant will be

transferred to a Bureau of Prisons facility, at which he will “receive adequate treatment”); United

States v. Rodriguez, 50 F. Supp. 2d 717, 722 (N.D. Ohio 1999) (similar). It is the government’s

understanding that the Alexandria Detention Center, like most detention facilities, is generally

equipped to provide defendants with mental health services and to dispense needed medications.

       E.      Release Is Not Warranted Even Under the Ninth Circuit’s Decision in Garcia

       The Defendant generally cites Garcia in support of his request for release pending

sentencing. The government, however, is not aware of a Fourth Circuit case approving Garcia’s

methodology for assessing exceptional reasons for release pending sentencing. Further, even if

the Garcia factors were applied in this case, they cut against the Defendant’s argument for

release.

       This is because none of the exceptional circumstances hypothesized in Garcia seem to be

present in the Defendant’s case:

       •       Although the defendant does not appear to have a prior criminal history, his threat

               to find and murder the FCC Chairman’s children due to the repeal of net

               neutrality regulations is not a “violent[], but uncharacteristic[], [act] in reaction to

               an unusually provocative circumstance.” Garcia, 340 F.3d at 1019. It is a

               chilling crime of violence without justification.

       •       Likewise, neither “the circumstances surrounding the act were highly unusual,”

               nor was the crime violent but “not involv[ing] any specific intent.” Id.




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       •       The Defendant has not shown that he “led an exemplary life prior to his offense

               and would be likely to continue to contribute to society significantly if allowed to

               remain free on bail.” Id.

       •       Moreover, this not a case in which the maximum sentence (10 years) or a

               reasonable estimate of the guidelines sentence (5 to 6 years) is “very short,” nor is

               it a case in which the defendant is reserving his right to appeal the merits of his

               conviction. Id. at 1019–20.

       •       The Defendant also has not established that he is suffering from a “sufficiently

               serious illness or injury,” such as lymphoma, which is what Garcia was

               undergoing chemotherapy for at the time he was convicted. Id. at 1020.

       Granting the Defendant’s request for release pending sentencing not only would be

inconsistent with the weight of precedent, but it also would lead to inequitable results.

“[P]ersonal and familial hardship and disruption to an individual’s . . . affairs are the natural, if

unfortunate, consequences of finding oneself at the mercy of the criminal justice system.”

United States v. Christman, 712 F. Supp. 2d 651, 656 (E.D. Ky. 2010). If personal hardships,

like non-unique medical conditions, qualified to prevent or delay detention, then a disparity

would arise in which an offender with no medical conditions would go to jail immediately, but

an offender convicted of the same offense with an unexceptional medical condition would

remain on bail. Such a result would be contrary to the goals of our justice system.

                                           CONCLUSION

       The Defendant chose to intimidate, interfere with, and retaliate against a federal official

by threatening to find and murder the official’s children. In so doing, the Defendant committed a

disturbing crime of violence. The Defendant is expected to plead guilty to this conduct, and



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Congress has enacted a law that provides for his mandatory detention pending sentencing.

Because the Defendant cannot meet his high burden of demonstrating exceptional reasons for his

release, the Court should deny his request for bond and remand the Defendant pending

sentencing.



                                                   Respectfully submitted,


                                                   G. Zachary Terwilliger
                                                   United States Attorney


Dated: August 31, 2018                       By:                  /s/
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                                CERTIFICATE OF SERVICE

       I hereby certify that on August 31, 2018, I electronically filed the foregoing with the

Clerk of Court using the CM/ECF system, which automatically generated a Notice of Electronic

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